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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE

             In re:                                                  Chapter 11

             Desolation Holdings LLC, et al.,1                       Case No. 23-10597 (BLS)

                      Debtors.                                       (Jointly Administered)

                                                                     Hearing Date: June 7, 2023 at 11:00 a.m. (ET)
                                                                     Objection Deadline: May 31, 2023 at 4:00 p.m. (ET)

                                                                     Ref. Docket Nos. 4, 5, 7, 8, 9, 36, 37, 39, 40 & 41

              OMNIBUS NOTICE OF FIRST DAY MOTIONS AND FINAL HEARING THEREON

                 PLEASE TAKE NOTICE that, on May 8, 2023, the above-captioned debtors and debtors
         in possession (collectively, the “Debtors”), filed, among others, the following first day motions
         (collectively, the “First Day Motions”) with the United States Bankruptcy Court for the District of
         Delaware (the “Court”):

         1.           Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to
                      Serve Certain Parties by Email, and (II) Granting Related Relief [Docket No. 4; 5/8/23]

         2.           Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to
                      (A) Maintain a Consolidated List of Creditors, (B) File a Consolidated List of the Debtors’
                      Fifty Largest Unsecured Creditors, and (C) Withhold or Omit Certain Confidential
                      Information, (II) Establishing Procedures for Notifying the Parties of Commencement, and
                      (III) Granting Related Relief [Docket No. 5; 5/8/23]

         3.           Debtors’ Motion for Entry of Interim and Final Orders to (I) Continue Employee Benefits
                      Programs and (II) Grant Related Relief [Docket No. 7; 5/8/23]

         4.           Debtors’ Motion Seeking Entry of Interim and Final Orders (I) Authorizing the Debtors to
                      (A) Continue to Operate Their Cash Management System, (B) Honor Certain Pre-Petition
                      Obligations Related Thereto, and (C) Continue to Perform Intercompany Transactions,
                      (II) Granting Superpriority Administrative Expense Status to Post-Petition Intercompany
                      Balances, and (III) Granting Related Relief [Docket No. 8; 5/8/23]

         5.           Debtors’ Motion for Entry of Interim and Final Orders: (A) Authorizing the Debtors to
                      Incur Post-Petition Debt, (B) Granting Super-Priority Administrative Expense Claims,
                      (C) Scheduling a Final Hearing, and (D) Granting Related Relief [Docket No. 9; 5/8/23]



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               The Debtors in these chapter 11 cases, along with the last four digits of each Debtor entity’s tax identification
               number, are: Desolation Holdings LLC (0439); Bittrex, Inc. (0908); Bittrex Malta Holdings Ltd. (2227); and
               Bittrex Malta Ltd. (1764). The mailing and service address of the Debtors is 701 5th Avenue, Suite 4200, Seattle,
               WA 98104.



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                  PLEASE TAKE FURTHER NOTICE that a hearing on the First Day Motions was held
         on May 10, 2023 (the “First Day Hearing”), after which the Court entered certain orders granting
         the relief requested in the First Day Motions on an interim basis [Docket Nos. 36, 37, 39, 40 & 41]
         (collectively, the “Interim Orders”). Concurrently herewith, you are being served with the Interim
         Orders.

                 PLEASE TAKE FURTHER NOTICE that copies of the First Day Motions and the
         related Interim Orders are available, free of charge, from the website of the Court appointed claims
         agent, Omni Agent Solutions, online at https://omniagentsolutions.com/Bittrex.

                 PLEASE TAKE FURTHER NOTICE that any responses or objections to approval of
         the First Day Motions on a final basis must be filed on or before May 31, 2023 at 4:00 p.m. (ET)
         (the “Objection Deadline”) with the United States Bankruptcy Court for the District of Delaware,
         824 N. Market Street, 3rd Floor, Wilmington, Delaware 19801. At the same time, copies of any
         responses or objections must be served so as to be received on or before the Objection Deadline
         upon the following parties: (a) proposed co-counsel to the Debtors, (i) Quinn Emanuel Urquhart
         & Sullivan, LLP, 51 Madison Ave 22nd floor, New York, NY 10010, Susheel Kirpalani
         (susheelkirpalani@quinnemanuel.com);                  Patricia             B.             Tomasco
         (pattytomasco@quinnemanuel.com), Daniel Holzman (danielholzman@quinnemanuel.com), and
         qe-bittrex@quinnemanuel.com, and (ii) Young Conaway Stargatt & Taylor, LLP, Wilmington,
         Rodney Square, 1000 North King Street, Wilmington, DE 19801, Attn: Robert S. Brady
         (rbrady@ycst.com), Kenneth Enos (kenos@ycst.com), and Joshua Brooks (jbrooks@ycst.com);
         (b) counsel for the DIP Lender, Pachulski Stang Ziehl & Jones LLP, 919 North Market Street, 17th
         Floor, Wilmington, DE 19801, Attn.: Laura Davis Jones (ljones@pszjlaw.com); (c) the U.S.
         Trustee, 844 King Street, Suite 2207, Wilmington, DE 19801, Attn: Richard L. Schepacarter
         (richard.schepacarter@usdoj.gov); (d) counsel to any statutory committee appointed in these
         Chapter 11 Cases; and (e) to the extent not listed herein, those parties requesting notice pursuant
         to Bankruptcy Rule 2002.

              PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER
         APPROVAL OF THE FIRST DAY MOTIONS ON A FINAL BASIS IS SCHEDULED FOR
         JUNE 7, 2023 AT 11:00 A.M. (ET) BEFORE THE HONORABLE BRENDAN LINEHAN
         SHANNON, IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
         DELAWARE, 824 N. MARKET STREET, 6TH FLOOR, COURTROOM NO. 1,
         WILMINGTON, DELAWARE 19801.

              PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS OR RESPONSES
         TO THE FIRST DAY MOTIONS ARE TIMELY FILED, SERVED, AND RECEIVED IN
         ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
         REQUESTED IN CONNECTION WITH SUCH FIRST DAY MOTIONS ON A FINAL BASIS
         WITHOUT FURTHER NOTICE OR HEARING.


                                              [Signature page follows]




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             Dated: May 11, 2023               YOUNG CONAWAY STARGATT &
             Wilmington, Delaware              TAYLOR, LLP

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                                               -and-

                                               QUINN EMANUEL URQUHART &
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                                               PROPOSED COUNSEL FOR THE DEBTORS




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